         Case 6:24-bk-03843-LVV          Doc 71-1   Filed 01/09/25   Page 1 of 2




                      UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

In re:
                                                     Case No.: 6:24-bk-03843-LVV
CHAIM LEVILEV,
                                                     Chapter 7
                       Debtor(s).
                                     /

         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

         Budgen Law, as counsel for Debtor, Chaim Levilev, and pursuant to Bankruptcy

Rule 2016(b), gives notice of receipt of compensation received, as follows:

    1. I am an attorney with the law firm of Budgen Law (“Budgen Law”) and I am
       admitted to practice before this Court.

    2. Budgen Law and the Debtor have entered into an agreement where:

            a. Budgen Law has agreed to render legal services to the Debtor.

            b. This agreement excludes Adversary Proceedings and cases not before this
               bankruptcy court.

    3. The Debtor has agreed to pay Budgen Law’s regular hourly rates for necessary
       services rendered by Budgen Law and to reimburse Budgen Law for actual,
       necessary expenses incurred or paid for the benefit of the Debtor as related to
       contested matters and any adversary.

    4. The fee is based upon the time estimated for the above-referenced scope of work
       and is characterized in part as an earned upon receipt retainer.

    5. Within one year before the filing of the petition in bankruptcy, the Debtor paid
       Budgen Law $0.00 for services rendered or to be rendered on behalf of the Debtor
       in contemplation of or in connection with this bankruptcy case as to the contested
       matters or adversary.

    6. Budgen Law will represent the Debtor regarding any and all work necessary to
       defend the bankruptcy case and otherwise represent the Debtor in the bankruptcy
       case.

    7. After the petition date, the Debtor paid, or caused to be paid, Budgen Law a
       retainer in the amount of $20,000.00.
       Case 6:24-bk-03843-LVV          Doc 71-1    Filed 01/09/25     Page 2 of 2




   8. The source of the compensation received is the Father-in-law of the Debtor.


   9. Budgen Law has not agreed to share the above-disclosed compensation with any
      other person.


Dated this 9th day of January, 2025.

                                             /s/ L Todd Budgen
                                             L. Todd Budgen
                                             Florida Bar No: 0296960
                                             Budgen Law
                                             PO Box 520546
                                             Longwood, Florida 32752
                                             Tel: (407) 481-2888
                                             tbudgen@MyBankruptcyFirm.com



                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing has been sent
via CM/ECF to all parties in interest and all parties listed on the attached mailing matrix
on or before the 10th day of January, 2025.



                                                     /s/ L. Todd Budgen
                                                     L. Todd Budgen
